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 LITE DEPALMA GREENBERG, LLC
 Bruce D. Greenberg
 570 Broad Street, Suite 1201
 Newark, NJ 07102
 Telephone: (973) 623-3000
 Facsimile: (973) 623-0858
 bgreenberg@litedepalma.com

 Attorneys for Gaetano Cecchini as Trustee of the Gaetano Cecchini Living Trust

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

  DEBENDRA SHARMA, Individually and on            :   Civil Action No.: 3:19-6601(BRM)(TJB)
  Behalf of All Others Similarly Situated,        :
                                                  :
                        Plaintiff,                :   CLASS ACTION
                                                  :
                 v.                               :   MOTION DAY: May 20, 2019
                                                  :
  AMARIN CORPORATION PLC, JOHN F.                 :   ORAL ARGUMENT REQUESTED
  THERO, and STEVEN KETCHUM,                      :
                                                  :
                        Defendants.               :
                                                  :
  RICHARD BORGHESI, Individually and on           :   Civil Action No.: 3:19-8423(BRM)(TJB)
  Behalf of All Others Similarly Situated,        :
                                                  :
                        Plaintiff,                :
                                                  :
                 v.                               :
                                                  :
  AMARIN CORPORATION PLC, JOHN F.                 :
  THERO, and STEVEN KETCHUM,                      :
                                                  :
                        Defendants.               :

   DECLARATION OF BRUCE D. GREENBERG IN SUPPORT OF THE MOTION OF
  GAETANO CECCHINI AS TRUSTEE OF THE GAETANO CECCHINI LIVING TRUST
 FOR APPOINTMENT AS LEAD PLAINTIFF, APPROVAL OF HIS SELECTION OF LEAD
        COUNSEL AND FOR CONSOLIDATION OF ALL RELATED ACTIONS

 I, Bruce D. Greenberg, declare as follows:

        1.     I am a member in good standing of the bar of the State of New Jersey and of this

 Court. I am a Member of the law firm of Lite DePalma Greenberg, LLC. I submit this declaration
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 in support of the Motion filed by Gaetano Cecchini as Trustee of the Gaetano Cecchini Living

 Trust (“Cecchini”) for: (1) appointment as Lead Plaintiff; (2) approval of his selection of Gibbs

 Law Group LLP (“Gibbs Law Group”) to serve as Lead Counsel for the Class; (3) consolidation

 of all related securities class actions; and (4) any such further relief as the Court may deem just

 and proper.

        2.      Attached as Exhibits A through D are true and correct copies of the following

 documents:

             EXHIBIT A:        Notice of pendency of Sharma v. Amarin Corp. PLC, 3:19-cv-
                               06601-BRM-TJB (D.N.J.) published on February 22, 2019;

             EXHIBIT B:        Certification of Cecchini;

             EXHIBIT C:        Chart reflecting financial interest of Cecchini;

             EXHIBIT D:        Firm Resume of Gibbs Law Group.

        I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

 knowledge.

 Executed this 23rd day of April, 2019.

                                                      /s/ Bruce D. Greenberg
                                                      Bruce D. Greenberg
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                        EXHIBIT A
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Wire: Business Wire (BUS) Date: Feb 22 2019 18:18:00
AMARIN CORPORATION INVESTOR ALERT: Gibbs Law Group Files Class Action Lawsuit
Alleging Violations of Federal Securities Laws

  AMARIN CORPORATION INVESTOR ALERT: Gibbs Law Group Files Class Action
  Lawsuit Alleging Violations of Federal Securities Laws

Business Wire

OAKLAND, Calif. -- February 22, 2019

Gibbs Law Group announces that it has filed a class action lawsuit against
Amarin Corporation (NASDAQ: AMRN) and certain of its officers and directors.
The class action, filed in the United States District Court for the District
of New Jersey (No. 2:19-cv-6601), is on behalf of investors who purchased or
acquired the securities of Amarin Corporation (NASDAQ: AMRN) from September
24, 2018 through November 8, 2018, inclusive. The lawsuit seeks to recover
damages for Amarin investors under the Securities Exchange Act of 1934.

To speak privately with an attorney regarding this class action lawsuit, click
here.

According to the lawsuit, defendants made false and misleading statements or
failed to disclose that: (1) the top-line results Amarin touted about its
REDUCE-IT trial for Vascepa were not as positive as the company represented;
(2) the placebo given to patients in the control arm of REDUCE-IT may have
increased the incidence of cardiovascular events in those patients; (3) as a
result, Amarin’s public statements were materially false and misleading at all
relevant times.

A class action lawsuit has already been filed. If you suffered a loss in
Amarin, you have until April 23, 2019 to request that the Court appoint you as
lead plaintiff. Your ability to share in any recovery doesn't require that you
serve as a lead plaintiff.

To speak privately with a securities attorney to learn more about our
investigation and your legal rights, visit our website or contact our
securities team directly at (800) 808-5294.

About Gibbs Law Group

Gibbs Law Group represents individual and institutional investors
in securities litigation to correct abusive corporate governance practices,
breaches of fiduciary duty, and proxy violations. The firm has recovered over
a billion dollars for its clients against some of the world’s largest
corporations, and our attorneys have received numerous honors for their work,
including “Best Lawyers in America,” “Top Plaintiff Lawyers in California,”
“Top Class Action Attorneys Under 40,” “Consumer Protection MVP,” and “Top
                                       Page 1
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Cybersecurity/ Privacy Attorneys Under 40.”

This press release may constitute Attorney Advertising in some jurisdictions
under the applicable law and ethical rules.

View source version on businesswire.com:
https://www.businesswire.com/news/home/20190222005536/en/

Contact:

CONTACT: EILEEN EPSTEIN
PHONE: 510.350.9728
EMAIL: EJE@CLASSLAWGROUP.COM

-0- Feb/22/2019 23:18 GMT

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################################ END OF STORY 1 ##############################




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                        EXHIBIT B
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                       EXHIBIT A
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Gaetano Cecchini, as trustee of the Gaetano Cecchini Living Trust
Transactions in Amarin Corp. plc ADRs during Class Period

                             Quantity Price Per
 Transaction Type Trade Date of ADRs    ADR     Cost/Proceeds
Purchase           10/4/2018 50,000.00 $20.0586 ($1,002,930.00)
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                         EXHIBIT C
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Gaetano Cecchini, as trustee of the Gaetano Cecchini Living Trust
Loss Chart for Class Period September 24, 2018 ‐ November 9, 2018

Amarin Corporation plc ADRs

                                                 Quantity of     Price Per
         Transaction Type          Trade Date      ADRs            ADR        Cost/Proceeds

Purchase                             10/4/2018      50,000.00     $20.0586    ($1,002,930.00)

Sale 1                              12/18/2018     ‐50,000.00     $17.2592       $862,960.00


                                                                Gain/(Loss)     ($139,970.00)




1
 Sales made during the 90‐day lookback period are valued at the maximum of the actual sale price and the
90 day average price up to the date of sale.
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                         EXHIBIT D
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Firm Resume

                                                                                           ATTORNEYS
Gibbs Law Group is a national litigation firm representing plaintiffs in class
and collective actions in state and federal courts, and in arbitration matters       Partners
worldwide. The firm serves clients in securities and financial fraud, antitrust,       Eric Gibbs            p. 2
consumer protection, whistleblower, personal injury, and employment cases.             David Berger          p. 4
We are committed to achieving favorable results for all of our clients in the          Dylan Hughes          p. 5
                                                                                       Karen Barth Menzies   p. 6
most expeditious and economical manner possible.                                       Geoffrey Munroe       p. 7
The firm regularly prosecutes multi-state class actions and has one of the best        Andre Mura            p. 8
track records in the country when it comes to successfully certifying classes,         Michael Schrag        p. 10
developing practical damages methodologies, obtaining prompt relief for                David Stein           p. 12
                                                                                       Steven Tindall        p. 14
class members victimized by unlawful practices, and working cooperatively
                                                                                       Amy Zeman             p. 15
with other firms.
Our attorneys take pride in their ability to simplify complex issues;                Of Counsel
willingness to pursue narrow and innovative legal theories; ability to work            A.J. De Bartolomeo    p. 17
cooperatively with other plaintiffs’ firms; and desire to outwork and outlast          John Kehoe            p. 19
                                                                                       Robert Mosier         p. 20
well-funded defense teams.
                                                                                       Michael Yarnoff       p. 21
As a result, our attorneys are frequently recognized by the courts, our peers,       Associates & Counsel
and the legal media for the quality of their work:                                     Joshua Bloomfield     p. 22
                                                                                       Aaron Blumenthal      p. 22
       Two 2019 California Lawyer Attorney of the Year (CLAY) Awards                  Caroline Corbitt      p. 22
                                                                                       Amanda Karl           p. 22
       Cybersecurity and Privacy MVP, Law360, 2018 (Eric Gibbs)                       Jeffrey Kosbie        p. 22
       Consumer Protection MVP, Law360, 2016 (Eric Gibbs) (sole                       Linda Lam             p. 23
        plaintiffs’ lawyer recognized)                                                 Steve Lopez           p. 23
                                                                                       Craig Rosler          p. 23
       Top Cybersecurity/ Privacy Attorneys Under 40, Law360 Rising Stars,
        2017 (Andre Mura)
                                                                                          SIGNIFICANT
       Top Class Action Attorneys Under 40, Law360 Rising Stars, 2017                    RECOVERIES
        (David Stein)
       Top 30 Plaintiff Lawyers in California, Daily Journal, 2016 (Eric          Securities & Financial     p. 24
        Gibbs)                                                                       Fraud
                                                                                   Data Breach/Privacy        p. 25
       Top 40 Lawyers Under 40, Daily Journal, 2017 (David Stein)                 Antitrust & Unfair         p. 26
       AV-Preeminent, Martindale-Hubbell (Eric Gibbs)                                  Business Practices
                                                                                   Mass Tort                 p. 28
       Best Lawyers in America for Class Action and Mass Torts                    Deceptive Marketing       p. 29
       17 of our attorneys have been recognized as Northern California            Defective Products        p. 30
        Super Lawyers or Rising Stars.                                             Government Reform         p. 32
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     ATTORNEYS


Partners

                                 Eric H. Gibbs  Partner
                                 Eric Gibbs prosecutes antitrust, consumer protection, whistleblower, financial fraud and
                                 mass tort matters. He has been appointed to leadership positions in dozens of contested,
                                 high profile class actions and coordinated proceedings, and currently serves in leadership
                                 positions in In re Equifax, Inc. Customer Data Security Breach Litigation, In re: Wells Fargo Auto
                                 Insurance Marketing and Sales Practices Litigation, In re Risperdal and Invega Product Liability Cases, In
                                 re Vizio, Inc., Consumer Privacy Litigation and In re Banner Health Data Breach Litigation. Eric has
                                 recovered nearly a billion dollars for the clients and classes he represents and has negotiated
                                 groundbreaking settlements that resulted in meaningful reforms to business practices and
                                 have favorably impacted plaintiffs’ legal rights.
505 14th Street, Suite 1110
Oakland, CA 94612                Reputation and Recognition by the Courts
T 510.350.9700
ehg@classlawgroup.com            In over 20 years of practice, Eric has developed a distinguished reputation with his peers and
                                 the judiciary for his ability to work efficiently and cooperatively with co-counsel, and
Practice Emphasis                professionally with opposing counsel in class action litigation.
Antitrust & Unfair Competition   “[Mr. Gibbs] efficiently managed the requests from well over 20 different law firms and
Banking and Financial Fraud      effectively represented the interests of Non-Settling Plaintiffs throughout this litigation.”
Class Actions
Consumer Protection
                                       - Hon. G. Wu, In re Hyundai & Kia Fuel Economy Litig. (C.D. Cal)
Employment Law                   “The attorneys who handled the case were particularly skilled by virtue of their ability and
Mass Personal Injury             experience.”
Whistleblower
                                       - Hon. D. Debevoise, In re: Mercedes-Benz Teleaid Contract Litig. (D. N.J.)
Education
                                 “They are experienced and knowledgeable counsel and have significant breadth of
Seattle University School of     experience in terms of consumer class actions.”
Law, J.D., 1995
                                       - Hon. R. Sabraw, Mitchell v. Am. Fair Credit Assoc’n (Alameda Cty. Superior Ct.)
San Francisco State
University, B.A., 1991           “Representation was professional and competent; in the Court’s opinion, counsel obtained
                                 an excellent result for the class.”
Awards & Honors
                                       - Hon. J. Fogel, Sugarman v. Ducati N. Am. (N.D. Cal)
California Lawyer Attorney of
the Year (CLAY) Award,
2019
                                 Achievements and Leadership
Cybersecurity & Privacy
                                 Eric has been recognized as a leading lawyer in class and mass Actions. He received a 2019
MVP, Law 360, 2018               California Lawyer Attorney of the Year (CLAY) Award for his work in the Anthem Data Breach
                                 Litigation. The Daily Journal named him to its prestigious list of “Top Plaintiff Lawyers in
Consumer Protection MVP,
Law 360, 2016
                                 California” for 2016. Law360 recognized Eric as a “2016 Consumer Protection MVP,” (the
                                 only plaintiff-side lawyer in the country selected in that category) and as a “2018
Top 30 Plaintiff Lawyers in      Cybersecurity & Privacy MVP.” Consumer Attorneys of California selected Eric and co-
California for 2016 by the
                                 counsel as finalists for Consumer Attorney of the Year for their work in achieving $100 million
Daily Journal
                                 settlement in the Chase “Check Loan” Litigation. His cases have been chronicled in major
Best Lawyers in America for      legal and news publications including NBC News, CNN, the National Law Journal, The New
Class Actions/ Mass Tort
                                 York Times, Market Watch, and Bloomberg News. Eric holds a variety of leadership positions in
Litigation (2012-2018)
                                 professional associations for consumer advocacy, and he frequently presents on developing
AV Preeminent® Peer              trends in the law at conferences throughout the country.
Review Rated by Martindale-
Hubbell
Top 100 Super Lawyers in
Northern California (2010 -
2018)
                                                                                                                            Page 2 of 32
Admissions

California
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                 Litigation Highlights
                 In re Anthem, Inc. Data Breach Privacy Litigation – Served as a court-appointed
                 member of the Plaintiffs’ Steering Committee representing the interests of plaintiffs and
                 putative class members following a massive data breach of approximately 80 million personal
                 records. The lawsuit settled in August 2018 for $115 million, the largest data breach
                 settlement in history.
                 In re Chase Bank U.S.A., N.A. “Check Loan” Contract Litigation – multidistrict
                 litigation that alleged Chase Bank wronged consumers by offering long-term fixed-rate loans,
                 only to later more-than-double the required loan payments. Eric led negotiations in the
                 case, which resulted in a $100 million settlement with Chase eight weeks prior to trial.
                 In re Adobe Systems Inc. Privacy Litigation – As court-appointed lead counsel, Eric and
                 his team reversed a long line of decisions adverse to consumers whose personal information
                 was stolen in data breaches. Judge Koh issued a 41 page decision in plaintiffs’ favor and Eric
                 negotiated a comprehensive reform of Adobe’s data security practices. The court’s landmark
                 decision on Article III standing in this case marked a sea change and has been cited
                 favorably in over twenty cases in the year since it was issued.
                 Skold v. Intel Corp. – After more than a decade of litigation, Eric as lead counsel achieved
                 a nationwide class action settlement on behalf of approximately 5 million consumers of Intel
                 Pentium 4 processors. The lawsuit changed Intel’s benchmarking practices and Intel agreed
                 to a cash settlement for the class, along with $4 million in charitable donations.
                 Parkinson v. Hyundai Motor America – Eric served as class counsel in this lawsuit
                 alleging that the flywheel and clutch system in certain Hyundai vehicles was defective. After
                 achieving nationwide class certification, Hyundai agreed to a settlement that provided for 50-
                 100% reimbursements to class members for their repairs and full reimbursement for rental
                 vehicle expenses.
                 De La Cruz v. Masco Retail Cabinet Group – Eric served as lead attorney litigating
                 the collective claims of dozens of misclassified account representatives for overtime pay
                 under the Fair Labor Standards Act (FLSA). Successfully certified a class of current and
                 former Masco account representatives and personally arbitrated the case to judgment
                 obtaining full recovery for the class.
                 In re Providian Credit Card Cases – Eric played a prominent role in this nationwide
                 class action suit brought on behalf of Providian credit card holders alleging that
                 Providian engaged in unlawful and fraudulent business practices in connection with the
                 marketing and fee assessments for its credit cards. The Honorable Stuart Pollack
                 approved a $105 million settlement, plus injunctive relief—one of the largest class action
                 recoveries in the United States arising out of consumer credit card litigation.
                 Professional Affiliations
                 American Association for Justice- Board of Governors; Co-chair Consumer Privacy and
                 Data Breach Litigation Group; Co-founder and past co-chair of AAJ Litigation Group, past
                 editor of Class Action Litigation Group newsletter; creator and current chair of Class Action
                 Litigation Group objector database and task force.
                 American Bar Foundation- Fellow
                 Consumer Attorneys of California- Board of Governors
                 National Association of Consumer Advocates
                 Pound Civil Justice Institute - Fellow




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                                 David M. Berger  Partner
                                 David Berger represents plaintiffs in class actions with a special emphasis on data breach,
                                 privacy, and health care litigation. Mr. Berger has represented plaintiffs in complex lawsuits
                                 following some of the nation’s largest retail and healthcare data breaches, including litigation
                                 against Adobe, Anthem, Home Depot, Experian, and Excellus BlueCross BlueShield, among
                                 others. Prior to joining Gibbs Law Group, Mr. Berger was a law clerk in the Northern
                                 District of California, litigation counsel for the Economic Community of West African
                                 States, and an associate at Robins, Kaplan, Miller, and Ciresi.

                                 Representative Work
505 14th Street
                                 In re Anthem, Inc. Data Breach Privacy Litigation – Key member of the litigation team
Suite 1110                       representing interests of plaintiffs and putative class members following massive data breach
Oakland, CA 94612                of approximately 80 million personal records, including names, dates of birth, Social Security
T 510.350.9700                   numbers, health care ID numbers, email and physical addresses, employment information,
dmb@classlawgroup.com            and income data. The lawsuit settled in August 2018 for $115 million, the largest data
                                 breach settlement in history.
Practice Emphasis
Class Actions
                                 Fero v. Excellus Health Plan Inc. – Key member of the litigation team representing the
                                 interests of 7 million Excellus health plan subscribers and 3.5 million Lifetime subscribers
Consumer Protection
                                 whose personal and medical information was compromised.
Privacy
                                 In re Adobe Systems Inc. Privacy Litigation – Key member of the litigation team that
                                 succeeded in reversing a long line of decisions adverse to consumers whose personal
Education
                                 information was stolen in data breaches. Judge Koh issued a 41-page decision in plaintiffs’
J.D., Northwestern University    favor and the settlement resulted in a comprehensive reform of Adobe’s data security
School of Law, 2008              practices. The court’s landmark decision on Article III standing marked a sea change and has
                                 been cited favorably in over twenty cases in the year since it was issued.
B.A., University of Wisconsin,
Madison, 1998                    Awards & Honors
Admissions                       Certified Information Privacy Technologist, International Association of Privacy
                                 Professionals (IAPP)
California                       Named a Northern California “Rising Star” by Super Lawyers (2016- 2018)

                                 Professional Affiliations
                                 American Association for Justice
                                 Consumer Attorneys of California

                                 Presentations and Publications
                                 Presenter, “Communicating with the Class,” Class Action Mastery Forum, January 2019.
                                 Presenter, “Hot Topics in Consumer Class Actions Against Insurers: Filed Rate Doctrine,
                                 Standing, and Reverse Preemption of RICO Claims,” Sacramento California Insurance
                                 Regulation and Litigation Seminar, Clyde & Co., March 2018.
                                 Presenter, “Winning strategies in privacy and data security class actions: the plaintiffs'
                                 perspective," Berkeley Center for Law & Technology, Berkeley Law School, January 2017.
                                 Presenter, “Don’t be Spokeo’d: What You Need to Know in Litigating Data Breach Cases
                                 (from breach to remedies),” ABA Business Law Section Annual Meeting, September 8, 2016.
                                 Presenter, “Developments in ‘E-Commerce’ Class Actions and Privacy Law,” Perrin Class
                                 Action Litigation Conference, May 16, 2016.
                                 Presenter, “Data Breach Class Action Litigation,” Mass Torts Made Perfect Conference,
                                 April 22, 2016.


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                                 Dylan Hughes  Partner
                                 Dylan Hughes concentrates his practice on investigating and prosecuting fraud matters on
                                 behalf of whistleblowers, consumers and employees who have been harmed by corporate
                                 misconduct. He coordinates initial case evaluations and analyses in a variety of practice areas
                                 and has substantial experience in matters involving health care fraud, particularly in the
                                 Medicare and pharmaceutical contexts. Dylan represents consumers in cases ranging from
                                 false advertising to defective products, and employees in misclassification and wage and hour
                                 cases under state and federal laws.

                                 Mr. Hughes has extensive experience prosecuting complex personal injury cases. He helped
                                 to obtain millions of dollars for women who suffered blood clots and other serious injuries
505 14th Street                  after taking birth control pills. He has also represented clients injured by defective medical
Suite 1110                       devices, including defibrillators, blood filters, as well as back pain implants. Mr. Hughes was
Oakland, CA 94612                part of the team that recently settled a case alleging medical malpractice for a spinal surgery
T 510.350.9700                   that resulted in partial paralysis.
F 510.350.9701
dsh@classlawgroup.com
                                 Mr. Hughes began his career as a law clerk for the Honorable Paul A. Mapes, Administrative
Practice Emphasis                Law Judge of the Office of Administrative Law Judges, United States Department of Labor.
Class Actions                    He is a member of the American Bar Association, Consumer Attorneys of California,
Consumer Protection              American Association for Justice Class Action Litigation Group and the Consumer Rights
Employment Law                   Section of the Barristers Club.
Whistleblower
                                 Litigation Highlights
Education
University of California,        Skold v. Intel Corp. – Key member of the legal team in this decade-long litigation that
Hastings College of Law, J.D.,   achieved a nationwide class action settlement on behalf of approximately 5 million
2000                             consumers of Intel Pentium 4 processors. The lawsuit changed Intel’s benchmarking
University of California at
                                 practices and Intel agreed to a cash settlement for the class, along with $4 million in
Berkeley, B.A., 1995             charitable donations.

Admissions                       In re Adobe Systems Inc. Privacy Litigation – Key member of the litigation team that
California                       succeeded in reversing a long line of decisions adverse to consumers whose personal
                                 information was stolen in data breaches. Judge Koh issued a 41-page decision in plaintiffs’
                                 favor and the settlement resulted in a comprehensive reform of Adobe’s data security
                                 practices. The court’s landmark decision on Article III standing in this case marked a sea
                                 change and has been cited favorably in over twenty cases in the year since it was issued.

                                 Velasco v. Chrysler Group LLP – represented consumers who alleged they were sold and
                                 leased vehicles with defective power control modules that caused vehicle stalling. In addition
                                 to negotiating a recall of all 2012-13 Jeep Grand Cherokee and Dodge Durango vehicles, the
                                 lawsuit also resulted in Chrysler reimbursing owners for all repair and rental car expenses,
                                 and extending its warranty.

                                 Parkinson v. Hyundai Motor America – certified a nationwide class alleging Hyundai sold
                                 vehicles with defective flywheel systems, resulting in a favorable settlement for the class.

                                 Awards & Honors
                                 Northern California Super Lawyer (2012-2018)

                                 Professional Affiliations
                                 Consumer Attorneys of California
                                 American Association for Justice- Class Action Litigation Group


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                                  Karen Barth Menzies  Partner
                                  Karen is a nationally-recognized mass tort attorney with more than twenty years of
                                  experience in federal and state litigation. Courts throughout the country have appointed
                                  Karen to serve in leadership positions including Lead Counsel, Liaison Counsel and Plaintiff
                                  Steering Committee in some of the largest pharmaceutical and device mass tort cases. Karen
                                  currently serves in leadership positions in the Zoloft Birth Defect Litigation (federal and
                                  California state courts), Transvaginal Mesh Litigation (federal and California state courts),
                                  Fosamax Femur Fracture Litigation (California state court), Lexapro/Celexa Birth Defect
                                  Litigation (Missouri state court).
                                  Karen is particularly focused on women's health issues and drugs that cause harm to
                                  children. She currently serves as co-lead counsel in the In re Taxotere (Docetaxel) Products
400 Continental Blvd              Liability Litigation, a consolidated multi-district proceeding on behalf of women who suffered
6th Floor                         permanent, disfiguring hair loss following breast cancer chemotherapy treatments. Karen
El Segundo, CA 90245
                                  believes in advocating for drug safety and for the victims in the face of profit-driven
T 510.350.9700
F 510.350.9701
                                  corporations. She has testified twice before FDA advisory boards as well as the California
kbm@classlawgroup.com             State Legislature on the safety concerns regarding the SSRI antidepressants and the
                                  manufacturers' misconduct.
Practice Emphasis
Class Actions
                                  Karen frequently publishes and presents on issues involving drug safety, mass tort litigation,
                                  FDA reform and federal preemption for both legal organizations (plaintiff and defense) and
Mass Personal Injury
                                  medical groups.
Education
                                  Awards & Honors
University of California, Davis
King Hall School of Law, J.D.,    AV Preeminent® Peer Review Rated by Martindale-Hubbell
1995.                             Southern California Super Lawyer (2004-2018)
Colorado State University,
                                  Lawyer of the Year by Lawyer’s Weekly USA (2004)
B.A., 1989.                       California Lawyer of the Year by California Lawyer magazine (2005)
                                  Consumer Attorney of the Year Finalist by CAOC (2006)
Admissions
California                        Professional Affiliations
                                  American Association for Justice
                                           Co-Chair, Taxotere Litigation Group
                                  Consumer Attorneys of California
                                  Consumer Attorneys of Los Angeles
                                  American Bar Association (appointed member of the Plaintiffs’ Task Force)
                                  Women En Mass
                                  The Sedona Conference (WG1, Electronic Document Retention and Production)
                                  The National Trial Lawyers
                                  National Women Trial Lawyers Association
                                  LA County Bar Association
                                  Women Lawyers Association of Los Angeles
                                  Public Justice




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                                Geoffrey Munroe  Partner
                                Geoffrey Munroe represents plaintiffs in high-profile class action and mass tort cases in both
                                federal and state courts throughout the United States. He was selected as a Rising Star by
                                Northern California Super Lawyers (2010-2014), recognizing him as one of the best young
                                attorneys practicing in Northern California, and as a Northern California Super Lawyer in
                                2015. He is the co-author of "Consumer Class Actions in the Wake of Daugherty v. American Honda
                                Motor Company," CAOC's Forum Magazine, January/February 2009, and a frequent
                                contributor to the Class Action Litigation Group Newsletter of the American Association
                                for Justice.

                                Mr. Munroe is a 2003 graduate of the University of California at Berkeley School of Law
505 14th Street                 (Boalt Hall), where he was the recipient of the American Jurisprudence Award in Torts,
Suite 1110                      Business Law & Policy and Computer Law. He received his undergraduate degree in
Oakland, CA 94612               chemistry from the University of California at Berkeley in 2000. Mr. Munroe is a member of
T 510.350.9700
                                the Public Justice Class Action Preservation Project Committee, the Class Action Litigation
F 510.350.9701
gam@classlawgroup.com
                                Group of the American Association for Justice and the Consumer Attorneys of California.
                                He is a member of the California Bar and is admitted to practice before the United States
Practice Emphasis               Court of Appeals for the Ninth Circuit, as well as the United States District Courts for the
Class Actions                   Northern, Central and Southern Districts of California.
Consumer Protection
Mass Personal Injury            Litigation Highlights
Whistleblower
                                Skold v. Intel Corp. – Key member of the briefing team in this decade-long litigation that
                                achieved a nationwide class action settlement on behalf of approximately 5 million
Education
                                consumers of Intel Pentium 4 processors. The lawsuit changed Intel’s benchmarking
University of California,       practices and Intel agreed to a cash settlement for the class, along with $4 million in
Berkeley Boalt Hall School of
                                charitable donations.
Law, J.D., 2003
                                In re Chase Bank U.S.A., N.A. “Check Loan” Contract Litigation – Key member of
University of California at
                                the litigation team in this multidistrict case alleging that Chase Bank wronged consumers by
Berkeley, B.A., 2000
                                offering long-term fixed-rate loans, only to later more-than-double the required loan
Admissions                      payments. The litigation resulted in a $100 million settlement with Chase eight weeks prior
California                      to trial.
                                In re Mercedes-Benz Tele Aid Contract Litigation – Key member of the litigation team
                                in this multi-district litigation alleging that Mercedes-Benz failed to disclose to its customers
                                that the "Tele Aid" equipment installed in their vehicles would soon be obsolete and require
                                an expensive replacement to keep working. Resulted in a class settlement providing for cash
                                reimbursements of $650, or new vehicle credits for up to $1,300.
                                Parkinson v. Hyundai Motor America – key member of the briefing team that achieved
                                certification of a nationwide class alleging Hyundai sold vehicles with defective flywheel
                                systems, before ultimately reaching a favorable settlement for the class.

                                Awards & Honors
                                Northern California Super Lawyers (2015-2018)
                                Northern California Super Lawyers, Rising Star (2010 - 2014)

                                Professional Affiliations
                                Consumer Attorneys of California
                                American Association for Justice- Class Action Litigation Group
                                Public Justice- Class Action Preservation Project




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                                Andre M. Mura  Partner
                                Andre M. Mura represents plaintiffs in class action and complex litigation concerning
                                consumers’ and workers’ rights, products liability, drug and medical devices, federal
                                jurisdiction, and constitutional law.

                                Prior to joining Gibbs Law Group LLP, Andre was senior litigation counsel at the Center for
                                Constitutional Litigation PC, where he represented plaintiffs in high-stakes appeals and
                                complex litigation in state supreme courts and federal appellate courts. He also authored
                                briefs filed in the U.S. Supreme Court, at both the petition and merits stages, and argued
                                dispositive motions in trial courts nationwide.

505 14th Street                 Andre received a 2019 California Lawyer Attorney of the Year (CLAY) Award for his work
Suite 1110                      in De La Torre v. CashCall. He is on the Board of the Civil Justice Research Initiative of
Oakland, CA 94612               Berkeley Law and UC Irvine School of Law, a Fellow of the American Bar Foundation, a
T 510.350.9700
                                member of the Lawyers Committee of the National Center for State Courts, a member of
F 510.350.9701
amm@classlawgroup.com
                                Public Justice’s Class Action Preservation Project, an Ex-Officio Trustee of the Pound Civil
                                Justice Institute, and Chair-Elect of the American Association for Justice’s LGBT Caucus.
Practice Emphasis
Class Actions                   Litigation Highlights
Consumer Protection
Constitutional Law
                                In re: Taxotere (Docetaxel) Products Liability Litigation - Andre was selected to chair
Employment Law
                                the plaintiffs’ law and briefing committee in this multi-district litigation on behalf of breast
                                cancer survivors who suffered permanent, disfiguring hair loss after using the Taxotere
Mass Personal Injury
                                chemotherapy drug. The lawsuit is ongoing.
Education                       De La Torre v. CashCall - Andre played a key role in briefing before the California
The George Washington
                                Supreme Court, which resulted in a unanimous decision in the plaintiffs’ favor finding that
University Law School, J.D.,    an interest rate on a loan above $2,500 may be unconscionable. The decision changed
2004                            decades-old assumptions that lenders in California had a virtual “safe harbor” from
                                unconscionability challenges to loan interest rate terms.
Williams College, B.A., 2000
                                In re: Lenovo Adware Litigation - Andre successfully briefed and argued a motion to
Admissions                      dismiss and motion to certify a nationwide litigation class for monetary damages. The parties
California                      moved for preliminary approval of a $7.3 million proposed class action settlement to resolve
District of Columbia            allegations that Lenovo preinstalled software on laptops that caused performance, privacy
                                and security issues for consumers.
Awards & Honors                 Beaver et. al. v. Tarsadia Hotels, Inc. et. al. - Andre contributed to briefing before the
California Lawyer Attorney of   Ninth Circuit Court of Appeals resulting in a unanimous decision affirming the lower court’s
the Year (CLAY) Award, 2019     ruling that the UCL’s four-year statute of limitations (and its accrual rule) applied in claims
Top Cybersecurity & Privacy
                                alleging violations of the Interstate Land Sales Full Disclosure Act (ILSA) even though ILSA
Attorneys Under 40, Law360      has a shorter statute of limitations.
Rising Stars (2017)
                                Corber v. Xanodyne Pharmaceuticals - Andre represented plaintiffs injured by
Northern California Super       propoxyphene, an ingredient found in Darvocet and Darvon pain relief drugs and generic
Lawyers Rising Star (2016-      pain relievers, before the U.S. Court of Appeals for the Ninth Circuit, sitting en banc.
2018)
                                Watts v. Lester E. Cox Medical Centers, 376 S.W.3d 633 (Mo. 2012), Andre successfully
                                argued that a state law limiting compensatory damages in medical malpractice cases violated
                                his client’s constitutional right to trial by jury. In ruling in favor of Mr. Mura’s client, the
                                Missouri high court agreed to overturn a 20-year-old precedent.

                                Texaco, Inc. & Chevron Corp. v. Simon, Mr. Mura argued before the Mississippi
                                Supreme Court in a case concerning Texaco’s and Chevron’s liability for pregnant women’s
                                exposure to leaded gas. The case settled favorably after oral argument but before decision.




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                 U.S. Supreme Court Advocacy
                 J. McIntyre Machinery, Ltd. v. Nicastro, 131 S. Ct. 2780 (2011), Andre drafted merits
                 briefing addressing whether personal jurisdiction exists over a foreign manufacturer.

                 Mutual Pharmaceutical Co., Inc. v. Bartlett, 133 S. Ct. 2466 (2013), Andre was the lead
                 author of an amicus curiae brief for the American Association for Justice and Public Justice
                 in case examining whether federal drug safety law preempts state-law liability for defectively
                 designed generic drugs.

                 Qwest Services Corp. v. Blood, 132 S. Ct. 1087 (2012), Andre was counsel of record for
                 plaintiffs in opposing Supreme Court review of an $18 million punitive damages award.

                 Awards & Honors
                 California Lawyer Attorney of the Year (CLAY) Award (2019)
                 Top Cybersecurity & Privacy Attorneys Under 40, Law360 Rising Stars (2017)
                 Northern California Super Lawyers Rising Star (2016-2018)

                 Professional Affiliations
                 American Association for Justice- Class Action Litigation Group, Legal Affairs Group
                 American Bar Association- Chair, Appellate Advocacy Committee of Tort Trial and
                 Insurance Practice Section; Plaintiff’s Policy Task Force
                 Consumer Attorneys of California
                 National Center for State Courts, Lawyers Committee
                 Pound Civil Justice Institute
                 Public Justice Foundation- Class Action Preservation Projects Committee


                 Publications & Presentations
                 Presenter, “Class Settlements and Certification in the Wake of In Re Hyundai Fuel Economy
                 Litigation,” Class Action Mastery Conference, HB Litigation, May 2018.
                 Presenter, “Effective Legal Writing Workshop,” American Association for Justice Education
                 Seminar, April 2018.
                 Presenter, “Strategic Responses to Recent Supreme Court Decisions [Bristol-Myers/Spokeo],”
                 Consumer Class Action Symposium, National Consumer Law Center, November 2017.
                 Co-author, “Supreme Court Applied 'Settled Principles' In BMS Ruling,” Law360 Expert
                 Analysis, September 11, 2017
                 Co-author, “In the Breach,” Trial Magazine, American Association for Justice, September
                 2017
                 Co-author, “Supreme Court Puts Personal Jurisdiction On Trial,” Law360 Expert Analysis,
                 May 22, 2017
                 Co-Author, “Beware Intended Consequences of Class Action Reform, Too,” Law360
                 Expert Analysis, March 14, 2017.
                 Author, Buckman Stops Here! Limits on Preemption of State Tort Claims Involving Allegations of Fraud
                 on the PTO or the FDA, 41 Rutgers L.J. 309, 2010.




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                                    Michael Schrag  Partner
                                    Michael Schrag has over 20 years of experience representing individual and small business
                                    plaintiffs in a broad range of complex class actions against large corporations in the banking,
                                    credit card, telecommunications, and real estate sectors. He has also successfully litigated
                                    antitrust, securities, product liability, personal injury, medical malpractice, employment, and
                                    contingent breach of contract cases. He currently serves on the Plaintiffs Steering
                                    Committee in the In re: Wells Fargo Auto Insurance Marketing and Sales Practices Litigation and on
                                    the Expert Committee in the In re: Disposable Contact Lens Antitrust Litigation.

                                    Michael served as Co-Lead counsel in Beaver v. Tarsadia Hotels, an unfair competition class
                                    action against real estate developers, which recently settled for $51.15 million. He currently
505 14th Street                     represents over 300 purchasers of fractional interests in luxury condominiums in breach of
Suite 1110                          fiduciary duty and contract cases against Marriott and Starwood.
Oakland, CA 94612
T 510.350.9700
                                    He also recently settled (for confidential sums) three related actions in California and Florida
F 510.350.9701
mls@classlawgroup.com
                                    on behalf of small business owners alleging RICO and fraud claims against American
                                    General Insurance Company, a subsidiary of AIG. Michael previously represented a class
Practice Emphasis                   of small business owners in a breach of contract case against an AT&T subsidiary that
Antitrust                           resulted in a $27 million judgment.
Class Actions
Consumer Protection                 Michael is a 1996 graduate of the University of California at Berkeley School of Law (Boalt
Mass Personal Injury                Hall) and received his undergraduate degree in 1989 from Columbia College at Columbia
Securities and Financial Fraud      University. He began his career prosecuting securities class actions and serving as a law clerk
Whistleblower
                                    to the Honorable Judith N. Keep, U.S. District Judge, Southern District of California. Early
                                    in his career, Michael helped initiate and prosecute class actions against Visa, MasterCard,
                                    and major U.S. banks for failing to disclose and fixing the price of currency conversion fees.
Education
                                    These cases settled for $336 million.
University of California,
Berkeley Boalt Hall School of
Law, J.D., 1996                    Litigation Highlights
Columbia College at Columbia       Beaver v. Tarsadia Hotels- Michael served as co-lead counsel on behalf of consumers in
University, B.A., 1989
                                   this unfair competition class action against real estate developers selling hotel-condominium
Admissions
                                   units. Lawsuit alleged that sellers concealed certain Congressionally-mandated protections in
California
                                   the sales contracts, including a statutory rescission right. After six years of litigation including
                                   a win in the Ninth Circuit that established favorable law for consumers, the lawsuit settled for
                                   $51.15 million. In granting final approval, Judge Curiel concluded that the settlement was "an
                                   excellent result,” and noted "Class Counsel overcame several hurdles that reflect their skill
                                   and experience." Beaver v. Tarsadia Hotels, 816 F. 3d1170 (9th Cir. 2016)
                                 Asokan et. al. v. American General Ins. Co.- Member of the trial team in this insurance
                                  and investment fraud case against American General Insurance Co, an AIG subsidiary.
                                  Michael and his team represented six plaintiffs who were marketed an investment involving a
                                  specialized whole life policy that would supposedly provide tax benefits. American General
                                  knew but concealed from plaintiffs that the plans no longer complied with the law. Plaintiffs
                                  suffered losses as a result of this fraud by concealment. Among other tasks, Michael had
                                  primary responsibility for working with plaintiffs’ damages expert and conducted the direct
                                  and re-direct examination of this expert at trial. The case settled for a confidential sum 8 days
                                  into the jury trial.




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                Smith et. al. v. American General Ins. Co. - Michael was a key member of the litigation
                team that represented nine high net worth plaintiffs in this RICO action alleging that
                American General and the other members of the enterprise falsely marketed and sold our
                clients a whole life policy that would supposedly provide a multitude of tax benefits, but
                concealed the fact that the IRS had changed its regulations, rendering these plans no longer
                compliant with the law. Among other tasks, Michael had primary responsibility for working
                with plaintiffs’ damages expert and deposing the defendants’ damages expert. The case settled
                for a confidential sum.
                Ammari v. Pacific Bell Directory – Represented consumers who overpaid an AT&T
                subsidiary for advertising in Yellow Pages directories. Plaintiffs prevailed at trial and on two
                appeals to obtain a $27 million judgment for class members, a result the National Law
                Journal deemed as one of the top 100 verdicts in 2009.
                In re Currency Conversion Fee Antitrust Litigation– After prevailing at trial in a related
                state court action, plaintiffs negotiated a $336 million global settlement for the class in this
                multidistrict antitrust litigation against the country’s largest credit card issuers and networks.
                In Re Sulzer Hip Prosthesis and Knee Prosthesis Liability Litigation – recovered over
                $10 million on behalf of his clients in this multidistrict litigation that awarded a total of $1
                billion to patients who received defective hip implants.




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                              David Stein  Partner
                              David Stein represents clients in federal and state cases nationwide, ranging from securities
                              and financial fraud class actions, to product liability, privacy, and data breach suits. Courts
                              have appointed David as lead counsel in a number of these cases and he has been praised as
                              a tenacious litigator with a “reputation as one of the best consumer advocates around.”
                              The Daily Journal recognized David as one of the Top 40 attorneys in the state of California
                              under the age of 40, and he was also honored in Law360’s nationwide list of “Top Class
                              Action Attorneys Under 40.” For the last seven years, he has been rated by his colleagues as
                              a Northern California Super Lawyers Rising Star.
                              David is frequently called upon to discuss emerging issues in complex litigation. He has
505 14th Street               twice been selected to serve on Law360’s Product Liability Editorial Advisory Board,
Suite 1110                    advising on emerging trends and important issues impacting product liability cases. He also
Oakland, CA 94612
T 510.350.9700                contributes his insights and commentary to Consumer Law Watch, an online publication
F 510.350.9701                analyzing developments in the law of consumer class actions.
ds@classlawgroup.com
                              Before entering private practice, David served as judicial law clerk to U.S. District Court
Practice Emphasis             Judge Keith Starrett and U.S. Magistrate Judge Karen L. Hayes.
Class Actions
Consumer Protection           Litigation Highlights
Financial Fraud
                              Paeste v. Government of Guam – helped secure a judgment against the Government of
Whistleblower
                              Guam and several of its highest-ranking officials in a suit involving the government’s
                              unlawful administration of income tax refunds. Mr. Stein defended the judgment in an oral
Education                     argument before the U.S. Court of Appeals for the Ninth Circuit, leading to a complete
Emory University School       victory for the taxpayers in the published decision, Paeste v. Government of Guam, 798 F.3d
of Law, J.D., 2007            1228 (9th Cir. 2015)
University of California at   Edwards v. Ford Motor Co. – in a class action alleging that Ford sold vehicles despite a
Santa Barbara, B.A.,          known safety defect, Mr. Stein twice argued plaintiff’s position before the U.S. Court of
2003                          Appeals for the Ninth Circuit. In the first appeal, Mr. Stein succeeded in obtaining a reversal
Admissions
                              of the trial court’s denial of class certification. In the second, plaintiff again prevailed, with
                              the Ninth Circuit affirming a ruling that Mr. Stein’s and his colleagues’ efforts generated free
California
                              repairs, reimbursements, and extended warranties for the class.
                              In re: Peregrine PFG Best Customer Accounts Litigation - represented investors in a
                              lawsuit against U.S. Bank and JPMorgan Chase arising from the collapse of Peregrine
                              Financial Group, Inc. The former Peregrine customers were seeking to recover the millions
                              of dollars that was stolen from them out of segregated funds accounts. Plaintiffs’ efforts led
                              to settlements with JPMorgan Chase and U.S. Bank worth over $75 million.
                              In re: Hyundai Sonata Engine Litigation – Mr. Stein served as court-appointed co-lead
                              counsel in this nationwide suit involving engine seizures at high speeds. The litigation led to
                              a settlement that included nationwide vehicle recalls, extended warranties, and payments that
                              averaged over three thousand dollars per class member.
                              Browne v. American Honda Motor Co., Inc. – represented consumers who alleged that
                              750,000 Honda Accord and Acura TSX vehicles were sold with brake pads that wore out
                              prematurely. A settlement ensued worth approximately $25 million, with hundreds of
                              thousands of class members participating.

                              Awards & Honors
                              “2017 Top 40 Under 40,” Daily Journal
                              Top Class Action Attorneys Under 40, Law360 Rising Stars (2017)
                              Northern California Super Lawyers Rising Star (2013-2018)


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                 Professional Affiliations
                 American Association for Justice
                 Association of Business Trial Lawyers
                 Federal Bar Association
                 Public Justice Foundation


                 Publications & Presentations
                 Prsenter, “Article III Standing in Data Breach Litigation,” AAJ Class Action Seminar,
                 December 2018.
                 Presenter, “Determining Damages in Class Actions,” Class Action Mastery Conference, HB
                 Litigation, May 2018.
                 Presenter, "Mass Torts and Class Actions: The Latest and Greatest, Update on Class Action
                 Standing" 56th Annual Consumer Attorneys of California Convention, November 2017.
                 Author, Third Circuit Crystallizes Post-Spokeo Standard, Impact Fund Practitioner Blog, July
                 2017.
                 Presenter, "Playing Defense: Reading the Long Game,” American Association for Justice, May
                 2017.
                 Presenter, "Motion to Dismiss – What’s Trending?" HB Litigation Conferences, Mass Tort Med
                 School + Class Actions, March 2017
                 Presenter, “Class Certification,” HB Litigation Conferences, Mass Tort Med School + Class Actions,
                 March 2017.
                 Presenter, “Class Remedies,” HB Litigation Conferences, Mass Tort Med School + Class Actions,
                 March 2017.
                 Co-Author, “Beware Intended Consequences of Class Action Reform, Too,” Law360
                 Expert Analysis, March 14, 2017.
                 Co-Author, “California Omissions Claims: Safety Required?” Law360 Expert Analysis,
                 February 15, 2017.
                 Presenter, “Hot Topics and Trends in Prosecuting and Defending Consumer Class Actions,”
                 Bridgeport Continuing Education 2017 Consumer Class Action Litigation Conference.
                 Presenter, “Perspectives on Automotive Class Action Litigation,” Stafford Publishers.
                 Presenter, “Motion to Dismiss – What’s Trending?” HB Litigation Conferences, Consumer
                 Class Actions.
                 Presenter, “Beyond the Mass Tort: Class Action Cases Arising from Big Pharmaceutical
                 Wrongdoing,” Consumer Attorneys of California,
                 Presenter, “Rule 23(c)(4) Issue Certification Post-Comcast,” American Association for
                 Justice.
                 Author, Wrong Problem, Wrong Solution: How Congress Failed the American Consumer, 23 Emory
                 Bankr. Dev. J. 619 (2007).




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                                Steven Tindall  Partner
                                Steven Tindall has specialized in employment and class action litigation for nearly 20 years.
                                He has been plaintiffs’ lead or co-lead counsel on several cases that resulted in settlements
                                worth over $1 million. Prior to joining Gibbs Law Group, Steven was a partner at Rukin
                                Hyland Doria & Tindall, and at Lieff Cabraser Heimann & Bernstein. While at Lieff
                                Cabraser, Steven focused on plaintiffs’ class action litigation in the fields of wage and hour
                                law, antitrust, and consumer protection. Steven has also litigated a number of mass tort
                                personal injury and toxic tort cases.

                                Steven received his B.A. degree in English Literature from Yale University, graduating
505 14th Street
                                summa cum laude, Phi Beta Kappa, and with distinction in his major. He earned his J.D.
Suite 1110                      degree from the University of California at Berkeley School of Law (Boalt Hall) in 1996.
Oakland, CA 94618               While at Boalt, Steven co-directed the East Bay Workers’ Rights Clinic. After graduating
T 510.350.9700                  from Boalt, Steven clerked for Hon. Judith N. Keep of the United States District Court for
F 510.350.9701                  the Southern District of California and for Hon. Claudia Wilken of the U.S. District Court
smt@classlawgroup.com           for the Northern District of California.
Practice Emphasis               In 2019, Steve received the California Lawyer Attorney of the Year (CLAY) Award for his
Class Actions                   work in De La Torre v. CashCall.
Employment Litigation
                                Awards & Honors
Education
                                California Lawyer Attorney of the Year (CLAY) Award (2019)
University of California,
Berkeley Boalt Hall School of
                                Northern California Super Lawyers (2009-2018)
Law, J.D., magna cum laude,
1996.                           Professional Affiliations

Yale University, B.A., summa    East Bay Community Law Center, Board Member
cum laude, Phi Beta Kappa.
                                Publications & Presentations
                                Contributor, “Can Interest Rates be Unconscionable?” Daily Journal Appellate Report
                                Podcast, July 6, 2018.
                                Co-Author, “Epic Systems and the Erosion of Federal Class Actions,” Law360 Expert
                                Analysis, July 5, 2018.
                                Co-Author, “Senate Should Reject Choice Act and Its Payday Free Pass,” Law360 Expert
                                Analysis, July 12, 2017.
                                Presenter, “Preparing for and Litigating PAGA Claims 2017,” Bridgeport Continuing
                                Education, March 3, 2017.
                                Contributing Author, California Class Actions Practice and Procedure, Matthew Bender &
                                Co., Inc., 2006
                                Author, Do as She Does, Not as She Says: The Shortcomings of Justice O’Connor’s Direct Evidence
                                Requirement in Price Waterhouse v. Hopkins, Berkeley Journal of Employment and Labor Law,
                                17, No. 2, 1996

                                Admitted
                                California




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                                 Amy Zeman  Partner
                                 Amy Zeman represents clients in a wide variety of medical mass injury matters, including
                                 individuals harmed by transvaginal mesh, the birth-control medications Yaz and Yasmin, the
                                 diabetes drug Actos, and the anti-psychotic medication Risperdal, among others. Ms. Zeman
                                 also represents consumers in class action litigation, with experience working closely with
                                 class representatives and consumer contacts and participating in all stages of litigation. Ms.
                                 Zeman has been named a Rising Star by Northern California Super Lawyers every year since
                                 2013.

                                 Prior to attending law school, Ms. Zeman pursued a career in the financial sector. Ms.
                                 Zeman served the members of the Marin County Federal Credit Union for almost seven
505 14th Street                  years, acting as the Accounting and Compliance Manager. Ms. Zeman was a spring 2010
Suite 1110                       extern for the Honorable Marilyn Hall Patel of the United States District Court, Northern
Oakland, CA 94618                District of California.
T 510.350.9700
F 510.350.9701
amz@classlawgroup.com            Litigation Highlights
Practice Emphasis
                                 Yaz & Yasmin Birth Control Litigation – represents women throughout the country who
                                 suffered serious side effects after taking Yaz, Yasmin and Ocella birth control.
Class Actions
Consumer Protection              Pelvic System Products Liability Litigation (transvaginal mesh) - represents women
Mass Personal Injury             across the country who suffered serious complications after receiving transvaginal mesh
Whistleblower/ Qui Tam           implants.
                                 Actos (Pioglitazone) Products Liability Litigation –represents individuals who were
Education                        diagnosed with bladder cancer after taking the oral anti-diabetic drug Actos.
University of California,
                                 Sanborn, et al. v. Nissan North America, Inc. – appointed as class counsel with Eric
Hastings College of Law, J.D.,
magna cum laude, 2010.
                                 Gibbs and others. The litigation team obtained a settlement just ten days before trial was to
                                 begin on claims that the dashboards in certain Nissan vehicles were melting into a shiny,
University of Missouri, B.A.,    sticky surface that produced a dangerous glare. The settlement allowed class members to
summa cum laude, 1998.           obtain a $1500-$2000 dashboard replacement for just $250, or to receive equivalent
                                 reimbursement for prior replacements.
Admissions
California                       Chase Bank U.S.A., N.A. “Check Loan” Contract Litigation – key member of the
Florida                          litigation team in this multidistrict case alleging that Chase Bank wronged consumers by
                                 offering long-term fixed-rate loans, only to later more-than-double the required loan
                                 payments. The litigation resulted in a $100 million settlement eight weeks prior to trial.
                                 Sugarman v. Ducati North America, Inc., - represented Ducati motorcycle owners whose
                                 fuel tanks on their motorcycles degraded and deformed due to incompatibility with the
                                 motorcycles’ fuel. In January 2012, the Court approved a settlement that provided an
                                 extended warranty and repairs, writing, “The Court recognizes that class counsel assumed
                                 substantial risks and burdens in this litigation. Representation was professional and
                                 competent; in the Court’s opinion, counsel obtained an excellent result for the class.”

                                 Awards & Honors
                                 Rising Star, Northern California Super Lawyers (2013-2018)

                                 Professional Affiliations
                                 American Bar Association, Tort Trial and Insurance Practice Section
                                 American Association for Justice- Secretary, Class Action Litigation Group; Co-Chair, Qui
                                 Tam Litigation Group; Member, Women Trial Lawyers Caucus
                                 Consumer Attorneys of California


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                 Publications & Presentations
                 Presenter, “Claims-processing in Large and Mass-Tort MDLs,” Emerging Issues in Mass-
                 Tort MDLs Conference, Duke University, October 2016.
                 Presenter, “Cross Pollination: Diversifying Your Case Garden,” HB Litigation Conferences,
                 Consumer Class Actions, May 2016.
                 Presenter, “Best Practices in Law Firm Management,” American Association for Justice 2016
                 Winter Convention, Women’s Trial Lawyers Caucus Leadership Summit, February 2016.
                 Presenter, “Effects of MIR 162 on U.S. Corn Farmers,” Mass Tort Med School, HB
                 Litigation Conferences, May 2015.
                 Presenter, “Lumber Liquidators Litigation,” American Association for Justice 2015 Annual
                 Convention, July 2015.
                 Presenter, “Recent Developments in Class Certification in the United States and Canada,”
                 American Association for Justice 2015 Annual Convention, July 2015.
                 Co-author, “Tips on Client Contact and Case Management in Mass Torts Part I: Client
                 Intake and Gathering Relevant Information,” American Association for Justice, Women
                 Trial Lawyers Caucus Connections Count Newsletter, 2013.
                 Co-author, “Tips on Client Contact and Case Management in Mass Torts Part II: Organizing
                 and Working with Client Information,” American Association for Justice, Women Trial
                 Lawyers Caucus Connections Count Newsletter, 2013.




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                              A.J. de Bartolomeo  Of Counsel
                              A.J. De Bartolomeo has nearly thirty years of experience prosecuting class actions and
                              complex matters in courts throughout the country. She has extensive expertise litigating
                              mass personal injury matters involving defective drugs and medical devices. A.J. currently
                              serves in court-appointed leadership positions in several MDL mass tort actions, including
                              serving on the Plaintiffs’ Steering Committees in the In re: Yaz and Yasmin Birth Control
                              Litigation, In re: Actos Products Liability Litigation and In re: Pradaxa Products Liability Litigation.
                              She serves on the Law and Briefing committees and has been involved with Daubert briefings
                              in a number of cases. A.J. previously served on the Plaintiff’s Steering Committee in the In
                              re Transvaginal Mesh Litigation.

505 14th Street               Committed to advancing opportunities for women lawyers, Ms. De Bartolomeo is the
Suite 1110                    former Chair of the Women’s Trial Lawyer Caucus of the American Association of Justice,
Oakland, CA 94612             where she oversaw the caucus’s work in leadership training, student scholarship,
T 510.350.9700                membership and political outreach, and other pro-civil justice functions. She is an active
F 510.350.9701                member of the American Bar Association Sections on Tort Trial and Insurance Practice, the
ajd@classlawgroup.com         American Bankruptcy Institute and Consumer Attorneys of California. Ms. De Bartolomeo
                              has been named among the highest class of attorneys for professional ethics and legal skills
Practice Emphasis             with an AV-Preeminent rating by Martindale Hubbell, and was recognized by her peers as a
Class Actions                 Northern California Super Lawyer every year since 2013.
Consumer Protection
Employment Law                Ms. De Bartolomeo frequently speaks before industry organizations on developments in
Mass Personal Injury          consumer class actions, mass tort litigation, Daubert challenges, Rule 37 and Inherent Power
Securities Law                sanctions, and the settlement approval process.

Education                     Litigation Highlights
University of California,     Consumer Protection, Bankruptcy and Securities Litigation
Hastings College of Law,
J.D., 1988                    In re Motors Liquidation Company, et al., f/k/a General Motors Corp., et al.
                              (Bankruptcy Litigation) – A.J. served as Lead Counsel for unsecured creditors in two
Fairfield University, B.A.,   class action cases in the General Motors bankruptcy proceedings (court-certified classes in In
1982
                              Re Piston Slap Class Litigation and In Re Dex-Cool Class Litigation). The cases were settled in
University of London,         Bankruptcy Court for nearly $12 million.
London School of
Economics (General
                              In re American Express Advisors Securities Litigation – Served as second chair and
Course Degree, 1981)          achieved settlement of $100 million on behalf of individuals who bought financial plans and
                              invested mutual funds from American Express Financial advisors.
Admissions
                              CalSTRS v. Qwest Communications, et al. – Served as Co-Lead Counsel in the
California
                              representation of California State Teachers’ Retirement System in opt-out securities fraud
Awards & Honors               action against Qwest Communications, Inc. and certain of its officers and directors, as well
AV Preeminent® Peer           as its outside auditor Arthur Andersen. Settled for $45 million.
Review Rated by
Martindale-Hubbell
                              Telstar v. MCI, Inc. – Served as lead counsel achieving settlement of more than $2.8
                              million in cash on behalf of class of commercial subscribers alleging FCA violations for
Northern California Super     unfair billing practices.
Lawyer (2013 - 2018)
                              In re MCI Non-Subscriber Rates Litigation – Served as second chair and achieved $90
AAJ Above and Beyond          million cash settlement on behalf of MCI subscribers who were charged MCI’s non-
Award, 2018
                              subscriber or “casual caller” rates and surcharges instead of the lower rates which MCI
AAJ Distinguished Service     advertised and subscribers expected to be charged.
Award, 2016
                              Lehman v. Blue Shield – A.J. served as lead counsel and achieved a settlement for more
                              than $6.5 million in cash on behalf of class of subscribers overpaying insurance premiums.




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                 Mass Personal Injury
                 In re: Yaz & Yasmin Birth Control Litigation – A.J. serves on the Plaintiffs’ Steering
                 Committee in this coordinated litigation on behalf of women throughout the country who
                 suffered serious side effects after taking Yaz, Yasmin and Ocella birth control. She serves as
                 co-chair of the Law and Briefing committee and substantially contributed to
                 the Daubert briefing that defeated all of the defendants’ 16 challenges to plaintiffs’ expert
                 testimony.
                 In re: Actos Products Liability Litigation – A.J. serves on the Plaintiffs’ Steering
                 Committee in this coordinated litigation on behalf of individuals who were diagnosed with
                 bladder cancer after taking the oral anti-diabetic drug Actos. She serves as a member of the
                 Law and Briefing committee in this litigation.
                 In re: Pradaxa Products Liability Litigation – A.J. serves on the Plaintiffs’ Steering
                 Committee in this coordinated litigation on behalf of individuals who suffered internal
                 hemorrhaging and other serious complications after taking the anticoagulant drug Pradaxa.
                 She serves on the Daubert briefing committee in this case.

                 Professional Affiliations
                 American Association for Justice- Member, Board of Governors; Chair, State Trial Lawyers
                 Association (TLA) Outreach Committee; Former Chair, Women’s Trial Lawyer’s Caucus;
                 Member, Class Action Litigation Group.
                 Consumer Attorneys of California
                 American Bar Association- Tort Trial and Insurance Practice Section
                 American Bankruptcy Institute


                 Publications & Recent Presentations
                 Presenter, “Communicating with the Class,” Class Action Mastery Conference, HB
                 Litigation, May 2018.
                 Presenter, "Current Class Action Landscape in Opioids Multidistrict Litigation,” HB
                 Litigation: Opioid Crisis- Claims, Damages & Science, January 2018.
                 Presenter, "Class Treatment: Can These Claims be Resolved by a Class Action?" American
                 Association for Justice: Opioid Litigation Seminar, September 2017.
                 Presenter and Moderator, "Are you going to eat that? Issues, hurdles and opportunities in
                 food and supplement litigation," 26th Annual Spring CLE Meeting for the American Bar
                 Association Tort and Insurance Practice Section (TIPS), Toxic Torts and Environmental
                 Law Committee, April 2017.
                 Presenter, “Strategies for Dealing with Objectors to Class Action Settlements,” Consumer
                 Attorneys of California Class Action Seminar, February 2017.
                 Presenter, “Plastic in the Pelvis: Essure and Mesh Litigation,” Harris Martin Women’s
                 Health Litigation Conference, June 2016.
                 Presenter, “Combatting the Latest Defense Tactics in Mass Torts/ Plaintiff Practice,”
                 Consumer Attorneys of California Sonoma Travel Seminar, April 2016.
                 Presenter, “Mass Tort Claims, Product Testing and Causation Issues,” 25th Annual Spring
                 CLE Meeting for the American Bar Association Tort Trial and Insurance Practice Section
                 (TIPS) Toxic Torts and Environmental Law Committee, April 2016.




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                                 John Kehoe  Of Counsel
                                 John Kehoe prosecutes securities and financial fraud cases in federal and state courts on
                                 behalf of institutional and individual clients. He has served as lead counsel in a number of
                                 precedent-setting cases including In re Bank of America Corporation Securities Litigation ($2.4
                                 billion settlement); In re Wachovia Preferred Securities and Bond/Notes Litigation ($627 million
                                 settlement); In re Initial Public Offering Securities Litigation ($586 million settlement resolving 309
                                 consolidated actions); In re Lehman Brothers Securities and ERISA Litigation ($516 million
                                 settlement); and In re Marvell Technology Group Ltd. Securities Litigation ($72 million settlement).
                                 He also had a significant prosecutorial role in In re Brocade Securities Litigation ($160 million
                                 settlement).

T 510.350.9700                   John has represented clients before the Second and Eleventh Circuit Courts of Appeals, and
jak@classlawgroup.com            he is active in merger and acquisition litigation before The Delaware Court of Chancery,
                                 including serving on the Executive Committee in In re Safeway Stockholders Litigation,
Practice Emphasis
                                 through which value of the transaction to stockholders was increased by more than $80
Class Actions
                                 million.
Securities Litigation
                                 Prior to attending law school, John worked as a law enforcement officer in the State of
Education                        Vermont (1986-94), serving as a member of the tactical Special Reaction Team and the
Syracuse University College of   Major Accident Investigation Team. He is a program faculty member with the National
Law, J.D., magna cum laude       Institute of Trial Advocacy, and served as an adjunct faculty member with the Trial
                                 Advocacy Training Program at the Louisiana State University School of Law.
University of Vermont, M.P.A.

DePaul University, B.A           John is a frequent speaker at conferences focused on shareholder rights and corporate
                                 governance issues. He received his Juris Doctorate, magna cum laude, from Syracuse
Admissions                       University College of Law. He also received a Masters of Public Administration from the
New York                         University of Vermont, and Bachelor of Arts from DePaul University, where he was starting
Pennsylvania                     goalkeeper on the Division I soccer team, and an exchange student to the University of
                                 Economics in Budapest, Hungary.

                                 John is Of Counsel to Gibbs Law Group and a shareholder at Kehoe Law Firm.




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                                 Robert Mosier  Of Counsel
                                 Mr. Mosier’s practice is almost exclusively focused on representing plaintiffs harmed by large
                                 pharmaceutical and medical device companies. He represents clients injured by Granuflo,
                                 Tylenol, Risperdal, Medtronic Infuse, Reglan, Crestor, Pain Pumps, Transvaginal Mesh,
                                 DePuy ASR and Pinnacle Hips, Januvia, Byetta and Yaz. Mr. Mosier serves as court-
                                 appointed co-lead counsel and liaison counsel and on leadership committees in consolidated
                                 litigation throughout the United States.

                                 Mr. Mosier currently serves as Plaintiffs’ Co-Lead Counsel in the Risperdal and Invega
                                 Product Liability Cases JCCP 4775 litigation, and as Plaintiff’s Liaison Counsel in the In re
                                 Infusion Pain Pump JCCP 4615 litigation. Mr. Mosier is appointed to the Plaintiff’s Steering
T 510.350.9700                   Committee in the In Re Incretin Mimetics Product Liability Litigation MDL 2452, and the
rmosier@thesandersfirm.com       In Re Zoloft Birth Defect Cases JCCP4771. Mr. Mosier is appointed to the Science
                                 Committee in the In re Fresenius Granuflo/Naturalyte Dialysate Products MDL 2428.
Practice Emphasis
Class Actions                    Prior to joining Sanders Viener Grossman as trial counsel and managing attorney, Mr.
Mass Personal Injury             Mosier was a partner at McGregor & Mosier, where he obtained numerous multi-million
                                 dollar settlements for injured plaintiffs in medical malpractice, brain injury, birth injury, and
Education
                                 other significant injury matters through trial. Mr. Mosier also represented victims involved in
                                 unique injury and death cases, including hot air balloon crashes, trucking deaths and
J.D., B.S.L., Thomas Jefferson
School of Law, 1992.
                                 molestation cases.

                                 Before working to represent the rights of injured plaintiffs, Mr. Mosier represented hospitals,
Admissions
                                 physicians, and medical providers accused of malpractice at one of California’s preeminent
New York
                                 medical malpractice defense firms. During his tenure as a defense attorney, Mr. Mosier
California                       gained invaluable insight and education into the practice of medicine, health care and
Arizona                          medical insurance issues.

                                 Mr. Mosier has held an AV Preeminent Attorney rating from Martindale Hubble since 2002,
                                 is a National Trial Lawyers – Top 100 Attorney, and an Arizona Top Rated Attorney – Top
                                 Trial Lawyers in America.

                                 Mr. Mosier frequently speaks at national legal conventions on various issues involving mass
                                 tort litigation. He has prosecuted diverse appellate court issues, obtaining published opinions
                                 in the areas of constitutional law, separation of court jurisdiction and dischargeability of
                                 intentional tort claims. While working as a medical malpractice defense attorney, Mr. Mosier
                                 served as liaison counsel for the Orange County Medical Association/ Orange County Bar
                                 Association committee and was frequently invited to speak to hospitals and their staffs on
                                 medical/legal issues affecting doctor-patient care.


                                 Robert A. Mosier is Of Counsel to Gibbs Law Group LLP and managing attorney of
                                 Sanders Viener Grossman LLP’s Los Angeles office.




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                                Michael Yarnoff  Of Counsel
T 510.350.9700                  Michael Yarnoff has more than 25 years of experience, including 15 years prosecuting
mky@classlawgroup.com           complex securities fraud class actions in federal courts involving claims under both the
                                Securities Act of 1933 and the Exchange Act of 1934. Throughout his career, Michael has
Practice Emphasis
                                represented large institutional clients and individual shareholders and has acted as lead or co-
Class Actions                   lead counsel in a number of high-profile securities cases, which, collectively, have settled for
Securities Litigation           billions of dollars.

Education                       Michael was previously an attorney at a large plaintiff’s class-action law firm, where he
Delaware Law School, J.D.       served as a senior-level partner in the securities department for over nine years. During that
George Washington University,   time, he also litigated a number of cases against large mortgage lenders for violations of the
B.A                             Real Estate Settlement Procedures Act of 1974, patent infringement matters, and appellate
                                matters before multiple Circuit Courts of Appeal.
Admissions
Delaware
                                Michael received his Juris doctorate from Delaware Law School in 1991 and his
                                undergraduate degree from George Washington University in 1988. While at George
New Jersey
                                Washington University, he served as a political intern for the late Senator John Heinz
Pennsylvania
                                (Pennsylvania).

                                Michael Yarnoff is Of Counsel to Gibbs Law Group and a shareholder at Kehoe Law Firm.

                                Litigation Highlights
                                Tyco International Ltd. – A landmark $3.2 billion settlement including the then largest
                                securities class-action recovery from a single corporate defendant ($2.975 billion) and the
                                second largest auditor settlement ($225 million).

                                Delphi Corporation – A $300 million class-action settlement against auto-parts
                                manufacturer Delphi Corporation (reduced as a result of bankruptcy), including an
                                additional $38 million recovery against Delphi’s outside auditor.

                                CVS Corporation – A $110 million recovery on behalf of a group of injured shareholders,
                                representing one of the largest settlements in a securities class-action in First Circuit history.

                                MDL Mutual Fund Litigation – A six-year litigation that resulted in more than $80 million
                                in recoveries against a number of mutual fund companies, including Alliance, Alger, and
                                Excelsior.




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Associates and Counsel

         Joshua Bloomfield prosecutes complex class action lawsuits with particular experience in data
breach, privacy cases and antitrust disputes. He has focused his legal career in civil and administrative
litigation and real estate law for more than 15 years. Joshua is a 2000 graduate of UCLA School of Law. He
received his undergraduate degree in a three-year accelerated course of study from University of
Pennsylvania in 1996.
         Aaron Blumenthal represents consumers and whistleblowers in class action lawsuits involving
allegations of corporate misconduct. He has prosecuted a variety of consumer protection cases ranging from
false advertising to defective products. He is also involved in the investigation and development of new
cases.
         Aaron was honored as a 2018 “Rising Star” by Northern California Super Lawyers. He attended the
University of California, Berkeley School of Law (Boalt Hall), where he graduated Order of the Coif (a
distinction awarded only to the top 10 percent of the graduating class). In law school, Aaron worked on
consumer issues— writing and publishing a law review article on the practical strategies for combatting class
action waivers in a post-Concepcion world.

        Caroline Corbitt is a 2015 graduate of the University of Southern California Gould School of Law,
where she served as Executive Editor of the Southern California Interdisciplinary Law Journal. Caroline was
a summer 2013 extern for the Honorable Laurel Beeler, Magistrate Judge of the United States District
Court, Northern District of California. She also externed at the Federal Trade Commission and the
California Department of Justice, Antitrust Division.

        Caroline was honored as a “Rising Star” by Northern California Super Lawyers in 2017 and 2018.
Before law school, she worked in book publishing in San Francisco, California. She received her
undergraduate degree in history and literature from Harvard University in 2009.

         Amanda Karl represents consumers, employees and others who have been harmed by corporations.
She is a 2014 graduate (Order of the Coif) of the University of California at Berkeley School of Law (Boalt
Hall), where she served as the Managing Editor of the California Law Review, Director of the Workers’
Rights Disability Law Clinic and Research Assistant to Professor Robert Berring, Jr. She also worked
throughout law school as a Clinical Law Student at the East Bay Community Law Center, assisting with
litigation targeting criminal record reporting violations, and as a law clerk at Equal Rights Advocates, where
she worked on women’s employment issues involving wage and hour law, pregnancy discrimination, ADA
and Title VII. Amanda received her undergraduate degree, magna cum laude, in Sociology and Human
Rights from Columbia University in 2009.

        Amanda was honored as a 2018 “Rising Star” by Northern California Super Lawyers. Following
graduation from law school, she served as a law clerk to the Honorable Richard A. Paez, United States
Court of Appeals for the Ninth Circuit (2014-2015), and as a law clerk to the Honorable Claudia Wilken,
Northern District of California (2015-2016).

        Jeffrey Kosbie is a 2015 graduate, magna cum laude, of Northwestern University School of Law
and Northwestern University Graduate School where he received a J.D. and a Ph.D. in Sociology. While in
law school, Jeffrey served as an Articles Editor of the Northwestern Journal of Law and Social Policy. He
received his undergraduate degree, summa cum laude, Phi Beta Kappa, in Sociology from Brandeis University
in 2006.



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          Jeffrey worked as a staff attorney in the United States Court of Appeals for the Ninth Circuit (2017-
2018) and served as a Multidistrict Litigation Law Clerk to the Judges Lucy Koh, Beth Freeman, and
Edward Davila of the Northern District of California (2018-2019). He authored Donor Preferences and the
Crisis in Public Interest Law, 57 SANTA CLARA L. REV. 43 (2017) and (No) State Interests in Regulating Gender:
How Suppression of Gender Nonconformity Violates Freedom of Speech, 19 WM. & MARY J. WOMEN & L. 187
(2013).

      Linda Lam focuses her practice on representing consumers, small businesses, and employees in
complex contingency litigation. Before joining the firm, Linda was an associate attorney at a national
employee benefits and employment law firm, where she represented workers and retirees.

       Linda was honored as a “Rising Star” by Northern California Super Lawyers in 2017 and 2018. She
graduated magna cum laude from the University of California, Hastings College of the Law in 2014, where she
was inducted into the Order of the Coif. In law school, Linda served as the Production Editor for the
Hastings Race and Poverty Law Journal. She worked as a research assistant to Professor Reuel Schiller.
Additionally, Linda worked on a team in the Refugee and Human Rights Clinic to win asylum status for a
domestic violence victim from Mexico. In 2012, she externed for the Honorable Joseph Spero in the
Northern District of California.

         Steve Lopez is a 2014 graduate of the University of California, Berkeley School of Law (Boalt Hall),
where he was a Publishing Editor for the California Law Review and an Editor for the Berkeley Journal of
Employment and Labor Law. He was a member of the La Raza Law Students Association and the Legal
Aid Society–Employment Law Center’s Berkeley Workers’ Rights Clinic, where he successfully argued a
client’s unemployment insurance appeal in an administrative hearing. Steve was the recipient of the
American Jurisprudence Award in Insurance Law, and the Prosser Prize in Remedies and Employee
Benefits Law.

        He was selected as a “Rising Star” by Northern California Super Lawyers in 2017 and 2018. Before
law school, Steve performed research for a consulting firm specializing in improving justice programs. He
received his undergraduate degree in economics and international relations from the University of Virginia
in 2008.

       Craig Rosler is Counsel with Gibbs Law Group. He has 20 years of experience in a variety of
complex litigation from consumer torts and commercial disputes to product-liability cases, including drugs,
medical devices and mass toxic torts. He specializes in case-dispositive briefing, at the pre-trial stage,
through trial, and on appeal.

        Craig previously served as a law clerk to Magistrate Judge Laurel Beeler, Northern District of
California (2014-2017), and worked for 17 years representing corporations in litigation as counsel with a
prominent firm in Birmingham, Alabama. He graduated with honors from Duke University School of Law
and received his undergraduate degree cum laude in international relations from the University of
Pennsylvania.




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SIGNIFICANT RECOVERIES

Some examples of the cases in which our lawyers played a leadership role are described below:

Securities and Financial Fraud
         In re Tyco International Ltd. Securities Litigation, MDL No. 02-1335-PB (D.N.H). Landmark
$3.2 billion settlement including the then largest securities class action recovery from a single corporate
defendant ($2.975 billion), and the second largest auditor settlement ($225 million).

       In re Bank of America Corporation Securities Litigation, 09-MDL-2058 (S.D.N.Y.). Securities
class action on behalf of certain shareholders of Bank of America Corporation (“BoA”) arising from
materially misleading statements and omissions regarding BoA’s acquisition of Merrill Lynch & Co., Inc.
The parties reached an agreement to settle the action for a total of $2.425 billion in cash and certain
corporate governance improvements to be implemented or continued by BoA.

        In re Lehman Brothers Equity/Debt Securities Litigation, 08-cv-5523 (S.D.N.Y.). Securities
class action on behalf of certain shareholders and bondholders of Lehman Brothers Holdings Inc.’s
(“Lehman”) in connection with untrue statements and omitted materials facts regarding, among other
things, Lehman’s use of undisclosed repurchase and resale transactions, failures to adhere to risk limits, and
misstatements concerning Lehman’s concentration of mortgage and real estate-related assets, preventing
investors from meaningfully assessing Lehman’s exposure to these risky assets. The Court subsequently
approved settlements totaling $615,218,000 in connection with the litigation, to resolve claims against the
individual officer and director defendants, underwriters of certain Lehman offerings, and against Ernst &
Young LLP, Lehman’s former auditor.

       In re Wachovia Corp. Preferred Securities and Bond/Notes Litigation, 09-cv-6351 (S.D.N.Y.).
Securities class action on behalf of certain Wachovia debt holders alleged that Wachovia sold more than $35
billion of bonds to investors in a series of public offerings while misrepresenting the true nature and quality
of Wachovia’s “Pick-A-Pay” Option ARM mortgage loan portfolio, and Wachovia’s exposure to billions of
dollars of losses in mortgage-related assets. On March 31, 2011, the court issued an Opinion and Order
substantially denying Defendants’ motions to dismiss. On August 5, 2011, Plaintiffs announced that they
reached a settlement with all the defendants for a total recovery of $627 million.

       In re American Express Financial Advisors Securities Litigation, No. 04-cv-01773 (S.D.N.Y.).
Ms. De Bartolomeo was among the attorneys serving as co-lead counsel in this class action, brought on
behalf of individuals who bought financial plans and invested in mutual funds from American Express
Financial Advisors. The case alleged that American Express steered its clients into underperforming “shelf
space funds” to reap kickbacks and other financial benefits. The Court granted final approval to a cash
settlement of $100 million in addition to other relief.

        Roth v. Aon Corp., No. 04-cv-06835 (N.D. Ill.). This securities fraud class action alleged that Aon
Corporation and its key executives made misstatements and failed to disclose important information to
investors about Aon’s role in and reliance on contingent commission kickbacks and steering arrangements
with insurers. Mr. Schrag helped prosecute this securities fraud class action against Aon Corporation which
resulted in a $30 million settlement for the plaintiff class.




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         In re Peregrine Financial Group Customer Litigation, No. 12-cv-5546 (N.D. Ill.). Mr. Stein was
among the attorneys serving as co-lead counsel for futures and commodities investors who lost millions of
dollars in the collapse of Peregrine Financial Group, Inc. Through several years of litigation, counsel helped
deliver settlements worth more than $75 million from U.S. Bank, N.A., and JPMorgan Chase Bank, N.A.

       In re Chase Bank USA, N.A. "Check Loan" Contract Litigation, No. 09-2032 (N.D. Cal.).
Gibbs Law Group attorneys and counsel from several firms led this nationwide class action lawsuit alleging
deceptive marketing and loan practices by Chase Bank USA, N.A. After a nationwide class was certified,
U.S. District Court Judge Maxine M. Chesney granted final approval of a $100 million settlement on behalf
of Chase cardholders.

         In re Winstar Communications Securities Litigation, No. 01-cv-11522 (S.D.N.Y). Gibbs Law
Group attorneys represented Allianz of America, Inc., Fireman’s Fund and other private institutional
investors against Grant Thornton and other defendants arising out of plaintiffs’ investments in Winstar
Communications, Inc. The firm achieved a settlement on the eve of trial that provided a recovery rate more
than 30 times higher than what class members received in a related class action. The recovery (after attorney
fees) returned a remarkable 78.5% of the losses plaintiffs may have recovered at trial.

       CalSTRS v. Qwest Communications, et al., No. 415546 (Cal. Super. Ct. S.F. Cty.). Ms. De
Bartolomeo served as co-lead counsel representing the California State Teachers Retirement System in this
opt-out securities fraud case against Qwest Communications, Inc. and certain of its officers and directors, as
well as its outside auditor Arthur Andersen. The case resulted in a precedent-setting $45 million settlement
for California school teachers.

      Mitchell v. American Fair Credit Association, No. 785811-2 (Cal. Super. Ct. Alameda Cty);
Mitchell v. Bankfirst, N.A., No. 97-cv-01421 (N.D. Cal.). This class action lawsuit was brought on behalf
of California members of the American Fair Credit Association (AFCA). Plaintiffs alleged that AFCA
operated an illegal credit repair scheme. The Honorable James Richman certified the class and appointed the
firm as class counsel. In February 2003, Judge Ronald Sabraw of the Alameda County Superior Court and
Judge Maxine Chesney of the U.S. District Court for the Northern District of California granted final
approval of settlements valued at over $40 million.

Data Breach and Privacy

        In re Anthem, Inc. Data Breach Litig., MDL No. 2617, No. 15-md-02617 (N.D. Cal.). Gibbs
Law Group attorneys serve as part of the four-firm leadership team in this nationwide class action stemming
from the largest healthcare data breach in history affecting approximately 80 million people. On August 15,
2018, the Court granted final approval to a $115 million cash settlement.

        In re: Vizio, Inc. Consumer Privacy Litigation, MDL No. 8:16-ml-02963 (C.D. Cal.).
Gibbs Law Group attorneys are co-lead counsel in this multi-district lawsuit alleging that Vizio collected and
sold data about consumers' television viewing habits and their digital identities to advertisers without
consumers' knowledge or consent. Counsel achieved an important ruling on the application of the Video
Privacy Protection Act (VPPA), a 1988 federal privacy law, which had never been extended to television
manufacturers. The firm negotiated a settlement providing for class-wide injunctive relief transforming the
company’s data collection practices, as well as a $17 million fund to compensate consumers who were
affected. In granting preliminary approval, Judge Josephine Staton stated, “I'm glad I appointed all of you
as lead counsel, because -- it probably is the best set of papers I've had on preliminary approval.” She also



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noted "[E]very class member will benefit from the injunctive relief." A final approval hearing is scheduled
for May 31, 2019.

        In re Adobe Systems Inc. Privacy Litig., No. 13-cv-05226 (N.D. Cal.). In this nationwide class
action stemming from a 2013 data breach, attorneys from Gibbs Law Group served as lead counsel on
behalf of the millions of potentially affected consumers. Counsel achieved a landmark ruling on Article III
standing (which has since been relied upon by the Seventh Circuit Court of Appeals and other courts) and
then went on to negotiate a settlement requiring Adobe to provide enhanced security relief—including the
implementation and maintenance of enhanced intrusion detection, network segmentation, and encryption.

       Whitaker v. Health Net of Cal., Inc., et al., No. 11-cv-00910 (E.D. Cal.); Shurtleff v. Health
Net of Cal., Inc., No. 34-2012-00121600 (Cal. Super Ct. Sacramento Cty). Gibbs Law Group attorneys
served as co-lead counsel in this patient privacy case. On June 24, 2014, the court granted final approval of a
settlement that provided class members with credit monitoring, established a $2 million fund to reimburse
consumers for related identity theft incidents, and instituted material upgrades to and monitoring of Health
Net’s information security protocols.

         Smith v. Regents of the University of California, San Francisco, No. RG-08-410004 (Cal. Super
Ct. Alameda Cty). Gibbs Law Group attorneys represented a patient who alleged that UCSF’s disclosure of
its patients’ medical data to outside vendors violated California medical privacy law. The firm succeeded in
negotiating improvements to UCSF’s privacy procedures on behalf of a certified class of patients of the
UCSF medical center. In approving the stipulated permanent injunction, Judge Stephen Brick found that
“plaintiff Smith has achieved a substantial benefit to the entire class and the public at large.”

Antitrust and Unfair Business Practices
        In re Currency Conversion Fee Antitrust Litigation, MDL No. 1409 (S.D.N.Y.); Schwartz v.
Visa, et. al., No. 822404-4 (Cal. Super. Ct., Alameda Cty). Mr. Schrag helped initiate and prosecute several
class actions against Visa, MasterCard, and other major U.S. banks, such as Chase and Bank of America, for
failing to disclose their price fixing of currency conversion fees charged to cardholders. After prevailing at
trial in Schwartz v. Visa, et. al., plaintiffs were successful in obtaining a $336 million global settlement for the
class.

        In re TFT-LCD (Flat Panel) Antitrust Litigation, MDL 1827 (N.D. Cal.). Gibbs Law Group
attorneys were among the team serving as liaison counsel in this multi-district antitrust litigation against
numerous TFT-LCD (Flat Panel) manufacturers alleging a conspiracy to fix prices, which has achieved
settlements of more than $400 million to date.

        In re Natural Gas Antitrust Cases I, II, III and IV, JCCP No. 4221 (Cal. Super. Ct. San Diego
Cty). Gibbs Law Group attorneys served in a leadership capacity in this coordinated antitrust litigation
against numerous natural gas companies for manipulating the California natural gas market, which has
achieved settlements of nearly $160 million.

        Beaver v. Tarsadia Hotels, No. 11-cv-1842 (S.D. Cal.); Gibbs Law Group attorneys served as co-
lead counsel representing buyers of San Diego Hard Rock Hotel condominium units in this class action
lawsuit against real estate developers concerning unfair competition claims. The lawsuit recently settled for
$51.15 million.




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        Ammari Electronics, et al. v. Pacific Bell Directory, No. RG05198014 (Cal. Super. Ct. Alameda
Cty.). Mr. Schrag obtained a $27 million judgment against an AT&T subsidiary after a jury trial and two
successful appeals in this breach of contract class action on behalf of thousands of California businesses that
advertised in Pacific Bell yellow pages directories. The National Law Journal featured this win in its “Top
100 Verdicts of 2009.”

        In re LookSmart Litigation, No. 02-407778 (Cal. Super. Ct. San Francisco Cty). This nationwide
class action suit was brought against LookSmart, Ltd. on behalf of LookSmart’s customers who paid an
advertised “one time payment” to have their web sites listed in LookSmart’s directory, only to be later
charged additional payments to continue service. Plaintiffs’ claims included breach of contract and violation
of California’s consumer protection laws. On October 31, 2003, the Honorable Ronald M. Quidachay
granted final approval of a nationwide class action settlement providing cash and benefits valued at
approximately $20 million.

        Lehman v. Blue Shield of California, No. CGC-03-419349 (Cal. Super. Ct. S.F. Cty.). In this class
action lawsuit alleging that Blue Shield engaged in unlawful, unfair and fraudulent business practices when it
modified the risk tier structure of its individual and family health care plans, Gibbs Law Group attorneys
helped negotiate a $6.5 million settlement on behalf of former and current Blue Shield subscribers residing
in California. The Honorable James L. Warren granted final approval of the settlement in March 2006.

       Wixon v. Wyndham Resort Development Corp., No. 07-cv-02361 (N.D. Cal.). Gibbs Law
Group attorneys served as class and derivative counsel in this litigation brought against a timeshare
developer and the directors of a timeshare corporation for violations of California state law. Plaintiffs
alleged that the defendants violated their fiduciary duties as directors by taking actions for the financial
benefit of the timeshare developer to the detriment of the owners of timeshare interests. On September 14,
2010, Judge White granted approval of a settlement of the plaintiffs’ derivative claims.

        Berrien, et al. v. New Raintree Resorts, LLC, et al., No. 10-cv-03125 (N.D. Cal.). Gibbs Law
Group attorneys filed this class action on behalf of timeshare owners, challenging the imposition of
unauthorized special assessment fees. On November 15, 2011, the parties reached a proposed settlement of
the claims asserted by the plaintiffs on behalf of all class members who were charged the special assessment.
On March 13, 2012, the Court issued its Final Class Action Settlement Approval Order and Judgment,
approving the proposed settlement.

       Benedict, et al. v. Diamond Resorts Corporation, et al., No. 12-cv-00183 (D. Hawaii). In this
class action on behalf of timeshare owners, Gibbs Law Group attorneys represented plaintiffs challenging
the imposition of an unauthorized special assessment fee. On November 6, 2012, the parties reached a
proposed settlement of the claims asserted by the plaintiffs on behalf of all class members who were
charged the special assessment. On June 6, 2013, the Court approved the settlement.

        Allen Lund Co., Inc. v. AT&T Corp., No. 98-cv-1500 (C.D. Cal.). This class action lawsuit was
brought on behalf of small businesses whose long-distance service was switched to Business Discount Plan,
Inc. Gibbs Law Group attorneys served as class counsel and helped negotiate a settlement that provided full
cash refunds and free long-distance telephone service.




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        Mackouse v. The Good Guys - California, Inc., No. 2002-049656 (Cal. Super Ct. Alameda Cty).
This nationwide class action lawsuit was brought against The Good Guys and its affiliates alleging violations
of the Song-Beverly Warranty Act and other California consumer statutes. The Plaintiff alleged that The
Good Guys failed to honor its service contracts, which were offered for sale to customers and designed to
protect a customer’s purchase after the manufacturer’s warranty expired. In May 9, 2003, the Honorable
Ronald M. Sabraw granted final approval of a settlement that provides cash refunds or services at the
customer’s election.

        Mitchell v. Acosta Sales, LLC, No. 11-cv-01796 (C.D. Cal. 2011). Gibbs Law Group attorneys
and co-counsel served as class counsel representing Acosta employees who alleged that they were required
to work off-the-clock and were not reimbursed for required employment expenses. We helped negotiate a
$9.9 million settlement for merchandiser employees who were not paid for all the hours they worked. The
Court granted final approval of the settlement in September 2013.

         Rubaker v. Spansion, LLC, No. 09-cv-00842 (N.D. Cal. 2009). Gibbs Law Group attorneys and
co-counsel filed a class action lawsuit on behalf of former Spansion employees that alleged that the
company had failed to provide terminated employees from California and Texas with advance notice of the
layoff, as required by the Workers Adjustment and Retraining Notification Act (WARN Act). The
bankruptcy court approved the class action settlement we and co-counsel negotiated in 2010. The settlement
was valued at $8.6 million and resulted in cash payments to the former employees.


Mass Tort
       In re Actos Pioglitazone-Products Liability Litigation, No. 6:11-md-2299 (W.D. La.). Ms. De
Bartolomeo was among those court-appointed to the Plaintiffs Steering Committee and also served on the
Daubert and Legal Briefing Committees, in litigation that resulted in a $2.37 billion settlement.

        In re Yasmin and Yaz (Drospirenone) Marketing, Sales, Practices and Products Liability
Litigation, MDL No. 2385, No. 3:09-md-02100 (S.D. Ill.). In litigation that ultimately resulted in
settlements worth approximately $1.6 billion, Ms. De Bartolomeo was appointed to the Plaintiffs Steering
Committee and served as Co-Chair of the Plaintiffs’ Law and Briefing Committee.

       In re Pradaxa (Dabigatran Etexilate) Products Liability Litigation, MDL No. 2385, No. 3:12-
md-02385 (S.D. Ill.), Ms. De Bartolomeo was appointed by the court to the Plaintiffs Steering Committee in
mass tort litigation that resulted in settlements worth approximately $650 million.

       In re: Sulzer Hip Prosthesis And Knew Prosthesis Liability Litigation, MDL No. 1401 (N.D.
Ohio); Cal. JCCP No. 4165 (Cal. Super. Court, Alameda Cty). Mr. Schrag helped recover over $10 million
on behalf of his clients in this multidistrict litigation.

       In Re Medtronic, Inc. Implantable Defibrillators Product Liability Litigation, No. 05-md-
1726 (D.Minn.). Ms. De Bartolomeo served on the discovery and law committees and provided legal,
discovery, and investigative support in this lawsuit, following a February 2005 recall of certain models of
Medtronic implantable cardioverter defibrillator devices. Approximately 2,000 individual cases were filed
around the country and consolidated in an MDL proceeding in District Court in Minnesota. The cases were
settled in 2007 for $75 million.




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Deceptive Marketing
       Hyundai and Kia Fuel Economy Litigation, No. 2:13-md-2424 (C.D. Cal.). In a lawsuit alleging
false advertising of vehicle fuel efficiency, the court appointed Eric Gibbs as liaison counsel. Mr. Gibbs
regularly reported to the Court, coordinated a wide-ranging discovery process, and advanced the view of
plaintiffs seeking relief under the laws of over twenty states. Ultimately Mr. Gibbs helped negotiate a revised
nationwide class action settlement with an estimated value of up to $360 million. The Honorable George H.
Wu wrote that Mr. Gibbs had “efficiently managed the requests from well over 20 different law firms and
effectively represented the interests of Non-Settling Plaintiffs throughout this litigation. This included
actively participating in revisions to the proposed settlement in a manner that addressed many weaknesses in
the original proposed settlement.”

        In Re Mercedes-Benz Tele Aid Contract Litigation, MDL No. 1914, No. 07-cv-02720 (D.N.J.).
Gibbs Law Group attorneys and co-counsel served as co-lead class counsel on behalf of consumers who
were not told their vehicles’ navigation systems were on the verge of becoming obsolete. Counsel
successfully certified a nationwide litigation class, before negotiating a settlement valued between
approximately $25 million and $50 million. In approving the settlement, the court acknowledged that the
case “involved years of difficult and hard-fought litigation by able counsel on both sides” and that “the
attorneys who handled the case were particularly skilled by virtue of their ability and experience.”

        In re Providian Credit Card Cases, JCCP No. 4085 (Cal. Super. Ct. San Francisco Cty). Mr. Gibbs
played a prominent role in this nationwide class action suit brought on behalf of Providian credit card
holders. The lawsuit alleged that Providian engaged in unlawful, unfair and fraudulent business practices in
connection with the marketing and fee assessments for its credit cards. The Honorable Stuart Pollack
approved a $105 million settlement, plus injunctive relief—one of the largest class action recoveries in the
United States arising out of consumer credit card litigation.

         In re Hyundai and Kia Horsepower Litigation, No. 02CC00287 (Cal. Super. Ct. Orange Cty). In
a class action on behalf of U.S. Hyundai and Kia owners and lessees, contending that Hyundai advertised
false horsepower ratings in the United States, attorneys from Gibbs Law Group negotiated a class action
settlement valued at between $75 million and $125 million which provided owners nationwide with cash
payments and dealer credits.

        In re MCI Non-Subscriber Telephone Rates Litigation, MDL No. 1275 (S.D. Ill.). This class
action lawsuit was brought on behalf of MCI subscribers charged various rates and surcharges instead of the
lower rates MCI had advertised. Ten cases were consolidated for pretrial proceedings before the Honorable
David R. Herndon. Judge Herndon appointed co-lead counsel for the consolidated actions and Ms. De
Bartolomeo played a significant role in the litigation. On March 29, 2001, Judge Herndon granted final
approval of a settlement for over $90 million in cash.

         Skold v. Intel Corp., No. 1-05-cv-039231 (Cal. Super. Ct. Santa Clara Cty.). Gibbs Law Group
attorneys represented Intel consumers through a decade of hard-fought litigation, ultimately
certifying a nationwide class under an innovative “price inflation” theory and negotiating a
settlement that provided refunds and $4 million in cy pres donations. In approving the settlement, Judge
Peter Kirwan wrote: “It is abundantly clear that Class Counsel invested an incredible amount of time and
costs in a case which lasted approximately 10 years with no guarantee that they would prevail…. Simply put,
Class Counsel earned their fees in this case.”




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        Steff v. United Online, Inc., No. BC265953 (Cal. Super. Ct. Los Angeles Cty.). Mr. Gibbs served
as lead counsel in this nationwide class action suit brought against NetZero, Inc. and its parent, United
Online, Inc., by former NetZero customers. Plaintiffs alleged that defendants falsely advertised their internet
service as unlimited and guaranteed for a specific period of time. The Honorable Victoria G. Chaney of the
Los Angeles Superior Court granted final approval of a settlement that provided full refunds to customers
whose services were cancelled and which placed restrictions on Defendants’ advertising.

        Khaliki v. Helzberg’s Diamond Shops, Inc., No. 11-cv-00010 (W.D. Mo.). Gibbs Law Group
attorneys and co-counsel represented consumers who alleged deceptive marketing in connection with the
sale of princess-cut diamonds. The firms achieved a positive settlement, which the court approved,
recognizing “that Class Counsel provided excellent representation” and achieved “a favorable result
relatively early in the case, which benefits the Class while preserving judicial resources.” The court went on
to recognize that “Class Counsel faced considerable risk in pursuing this litigation on a contingent basis, and
obtained a favorable result for the class given the legal and factual complexities and challenges presented.”


Defective Products
        In re Hyundai Sonata Engine Litigation, Case No. 5:15-cv-01685 (N.D. Cal.). Gibbs Law
Group attorneys served as court-appointed co-lead class counsel on behalf of plaintiffs who alleged their
2011-2014 Hyundai Sonatas suffered premature and catastrophic engine failures due to defective rotating
assemblies. We negotiated a comprehensive settlement providing for nationwide recalls, warranty
extensions, repair reimbursements, and compensation for class members who had already traded-in or sold
their vehicles at a loss. The average payment to class members exceeded $3,000.
        Sugarman v. Ducati North America, Inc., No. 10-cv-05246 (N.D. Cal.). Gibbs Law Group
attorneys served as class counsel on behalf of Ducati motorcycle owners whose fuel tanks on their
motorcycles degraded and deformed due to incompatibility with the motorcycles’ fuel. In January 2012, the
Court approved a settlement that provided an extended warranty and repairs, writing, “The Court
recognizes that class counsel assumed substantial risks and burdens in this litigation. Representation was
professional and competent; in the Court’s opinion, counsel obtained an excellent result for the class.”

        Parkinson v. Hyundai Motor America, No. 06-cv-00345 (C.D. Cal.). Gibbs Law Group attorneys
served as class counsel in this class action featuring allegations that the flywheel and clutch system in certain
Hyundai vehicles was defective. After achieving nationwide class certification, our lawyers negotiated a
settlement that provided for reimbursements to class members for their repairs, depending on their vehicle’s
mileage at time of repair, from 50% to 100% reimbursement. The settlement also provided full
reimbursement for rental vehicle expenses for class members who rented a vehicle while flywheel or clutch
repairs were being performed. After the settlement was approved, the court wrote, “Perhaps the best
barometer of … the benefit obtained for the class … is the perception of class members themselves.
Counsel submitted dozens of letters from class members sharing their joy, appreciation, and relief that
someone finally did something to help them.”

        Browne v. Am. Honda Motor Co., Inc., No. 09-cv-06750 (C.D. Cal.). Gibbs Law Group
attorneys and co-counsel represented plaintiffs who alleged that about 750,000 Honda Accord and Acura
TSX vehicles were sold with brake pads that wore out prematurely. We negotiated a settlement in which
improved brake pads were made available and class members who had them installed could be reimbursed.
The settlement received final court approval in July 2010 and provided an estimated value of $25 million.




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        In Re General Motors Dex-Cool Cases., No. HG03093843 (Cal. Super Ct. Alameda Cty). Gibbs
Law Group attorneys served as co-lead counsel in these class action lawsuits filed throughout the country,
where plaintiffs alleged that General Motors’ Dex-Cool engine coolant damaged certain vehicles’ engines,
and that in other vehicles, Dex-Cool formed a rusty sludge that caused vehicles to overheat. After consumer
classes were certified in both Missouri and California, General Motors agreed to cash payments to class
members nationwide. On October 27, 2008, the California court granted final approval to the settlement.

        In re iPod Cases, JCCP No. 4355 (Cal. Super. Ct. San Mateo Cty). Mr. Gibbs, as court appointed
co-lead counsel, negotiated a settlement that provided warranty extensions, battery replacements, cash
payments, and store credits for class members who experienced battery failure. In approving the settlement,
the Hon. Beth L. Freeman said that the class was represented by “extremely well qualified” counsel who
negotiated a “significant and substantial benefit” for the class members.

         Roy v. Hyundai Motor America, No. 05-cv-00483 (C.D. Cal.). Gibbs Law Group attorneys served
as co-lead counsel in this nationwide class action suit brought on behalf of Hyundai Elantra owners and
lessees, alleging that an air bag system in vehicles was defective. Our attorneys helped negotiate a settlement
whereby Hyundai agreed to repair the air bag systems, provide reimbursement for transportation expenses,
and administer an alternative dispute resolution program for trade-ins and buy-backs. In approving the
settlement, the Honorable Alicemarie H. Stotler presiding, described the settlement as “pragmatic” and a
“win-win” for all involved.

         Velasco v. Chrysler Group LLC, No. 2:13-cv-08080 (C.D. Cal.). In this class action, consumers
alleged they were sold and leased vehicles with defective power control modules that caused vehicle stalling.
Gibbs Law Group attorneys and their co-counsel defeated the majority of Chrysler’s motion to dismiss and
engaged in extensive deposition and document discovery. In 2015, the parties reached a settlement
contingent on Chrysler initiating a recall of hundreds of thousands of vehicles, reimbursing owners for past
repairs, and extending its warranty for the repairs conducted through the recall. When he granted final
settlement approval, the Honorable Dean D. Pregerson acknowledged that the case had been “hard fought”
and “well-litigated by both sides.”

         Edwards v. Ford Motor Co., No. 11-cv-1058 (S.D. Cal.). This lawsuit alleged that Ford sold
vehicles despite a known safety defect that caused them to surge into intersections, through crosswalks, and
up on to curbs. The litigation twice went to the U.S. Court of Appeals for the Ninth Circuit, with plaintiff
prevailing in both instances. In the first instance, the appellate court reversed the trial court’s denial of class
certification. In the second, the Ninth Circuit affirmed the ruling below that plaintiff’s efforts had generated
free repairs, reimbursements, and extended warranties for the class.

        Sanborn, et al. v. Nissan North America, Inc., No. 00:14-cv-62567 (S.D. Fla.). Gibbs Law
Group litigated this action against a vigorous defense for two years, seeking relief for Nissan Altima owners
whose dashboards were melting into a sticky, shiny, gooey surface that they alleged caused a substantial and
dangerous glare. After largely prevailing on a motion to dismiss, Gibbs Law Group attorneys and their co-
counsel prepared the case to the brink of trial, reaching a settlement just ten days before the scheduled trial
start. The settlement allowed class members to obtain steeply discounted dashboard replacements and
reimbursement toward prior replacement costs.
        Bacca v. BMW of N. Am., No. 2:06-cv-6753 (C.D. Cal.) In a class action alleging that BMW
vehicles suffered from defective sub-frames, we negotiated a settlement with BMW in which class members
nationwide received full reimbursement for prior sub-frame repair costs as well as free nationwide
inspections and program.



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Government Reform
        Paeste v. Government of Guam, No. 11-cv-0008 (D. Guam); Gibbs Law Group attorneys and co-
counsel served as Class Counsel in litigation alleging the Government of Guam had a longstanding practice
of delaying tax refunds for years on end, with the Government owing over $200 million in past due refunds.
After certifying a litigation class, Plaintiffs prevailed on both of their claims at the summary judgment stage,
obtaining a permanent injunction that reformed the government’s administration of tax refunds. The
judgment and injunction were upheld on appeal in a published decision by the Ninth Circuit. Paeste v. Gov’t
of Guam, 798 F.3d 1228 (9th Cir. 2015).




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